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                                      UNITED STATES COURT OF APPEALS                         FILED
                                             FOR THE NINTH CIRCUIT                            MAY 2 2025
                                                                                          MOLLY C. DWYER, CLERK
                                                                                           U.S. COURT OF APPEALS
              SUSAN WEBBER; et al.,                                No. 25-2717
                                                                   D.C. No.
                               Plaintiffs - Appellants,
                                                                   4:25-cv-00026-DLC
                                                                   District of Montana,
                v.                                                 Great Falls
              UNITED STATES DEPARTMENT OF                          ORDER
              HOMELAND SECURITY; et al.,

                               Defendants - Appellees.

                        The Mediation Program of the Ninth Circuit Court of Appeals facilitates

              settlement while appeals are pending. See Fed. R. App. P. 33 and Ninth Cir. R.

              33-1.

                        By 5/9/2025, counsel for all parties intending to file briefs in this matter are

              requested to inform Steven Saltiel , Circuit Mediator, by email at

              Steven_Saltiel@ca9.uscourts.gov of their clients’ views on whether the issues on

              appeal or the underlying dispute might be appropriate for settlement presently or in

              the foreseeable future. Counsel are requested to include the Ninth Circuit case

              name and number in the subject line. This communication will be kept

              confidential, if requested, from the other parties in the case. This communication

              shall not be filed with the court.
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                        For more detailed information about the Mediation Program and its

              procedures generally, please see Mediation Program web site:

              www.ca9.uscourts.gov/mediation.

                        The existing briefing schedule remains in effect.



                                                               FOR THE COURT:


                                                               By: Steven Saltiel
                                                               Circuit Mediator
